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     J.L.M., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Children: J.M.Q. and G.Q., and Concerning K.J.Q. No. 25SC160Supreme Court of Colorado, En BancApril 14, 2025
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA913
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    